

People v Fuller (2025 NY Slip Op 02019)





People v Fuller


2025 NY Slip Op 02019


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Webber, J.P., Kennedy, Mendez, Higgitt, O'Neill Levy, JJ. 


Ind No. 333/19|Appeal No. 4032|Case No. 2019-5295|

[*1]The People of The State of New York, Respondent, 
vClinton Fuller, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Everett K. Hopkins of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Connor Glendinning of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Steven Hornstein, J.), rendered August 16, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








